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                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

CARGILL, INCORPORATED             * CIVIL ACTION NO.: 2:21-cv-01798
                Plaintiff         *
                                  * JUDGE: IVAN L.R. LEMELLE
VERSUS                            *
                                  *
M/V XING HE HAI, COSCO SHIPPING   * MAGISTRATE: MICHAEL NORTH
 (USA) INC., OCEAN KONG SHIPPING, *
LTD., SHANGHAI OCEANFRATE         *
SHIP MANAGEMENT CO LTD.,          *
FORTUNE OCEAN SHIPPING LTD.,      *
ULTRABULK A/S, MINSHENG ZHI XIN *
SHIPPING LEASING CO LTD.,         *
STX PAN OCEAN CO., LTD., and      *
COMERGE SHIPPING                  *
(HONG KONG) CO.                   *
                   Defendants     *
***************************************************

                    MOTION FOR DISMISSAL WITHOUT PREJUDICE

        NOW INTO COURT, through undersigned counsel, comes Plaintiff, Cargill, Incorporated,

and upon suggesting to this Honorable Court that this matter has been resolved between the parties,

and Plaintiff, Cargill, Incorporated, respectfully moves the Court for an Order dismissing the above-

entitled and captioned matter, without prejudice.

                                              Respectfully submitted,



                                              ____________________________________
                                              VALERIE THENG MATHERNE (#25898)
                                              JAMES M. MATHERNE (#26155)
                                              COLIN F. LOZES (#35893)
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